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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )
               Plaintiff,                    )      INTERSTATE AGREEMENT ON
                                             )      DETAINERS ORDER
       v.                                    )
                                             )
Madilyn Kay Don Moon,                        )      Case No.: 1:23-cr-00044
                                             )
               Defendant.                    )


       On March 13, 2024, Defendant made her initial appearance and was arraigned in the above-

entitled action. AUSA Rick Volk appeared for the United States. Attorney Nicole Bredahl was

appointed to represent Defendant in this matter and appeared on Defendant’s behalf.

       Prior to her initial appearance, Defendant was incarcerated by the State of North Dakota at

the Dakota Women’s Correctional and Rehabilitation Center in New England, North Dakota. After

the Indictment in this case was returned and an arrest warrant issued, a detainer was filed by the

United States pursuant to the Interstate Agreement on Detainers Act (“IADA”). Defendant’s

appearance before this court for her initial appearance and arraignment was secured by a writ of

habeas corpus ad prosequendum.

       At her initial appearance and arraignment, Defendant was advised or her rights under the

IADA to continued federal custody until the charges set forth in the Indictment are adjudicated.

Defendant waived in open court the anti-shuttling provisions of IADA at that time, agreeing to

remain in state pending further proceedings in this case initiated by the United States (the

“receiving state” under the IADA).

       The court accepts Defendant’s waiver, finding that it was made knowingly and intelligently,

voluntarily, and upon advice of counsel. Accordingly, the court ORDERS that Defendant be
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returned to and housed in the “sending state” under the IADA pending further proceedings or until

further order of the court. Further, pursuant to Defendant’s waiver, the return of Defendant to her

place of incarceration pending trial shall not be grounds under the IADA for dismissal of the

charges set forth in the Indictment.

IT IS SO ORDERED.

Dated this 13th day of March, 2024.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court




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